                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                             Case No. 16-CR-87

JOSE SANTOS-MARTI,

                    Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Jose Santos-Marti, appeared

before me on June 12, 2017, for a change of plea colloquy pursuant to Rule 11 of the

Federal Rules of Criminal Procedure. See Court Minutes for Change of Plea Hearing,

ECF No. 335. Mr. Santos-Marti, who was represented by counsel at the hearing,

consented to my conducting the change of plea colloquy. I explained that it would be

for United States District Judge J.P. Stadtmueller alone, not me, to enter the plea

and that my role was to conduct the plea colloquy and then to prepare a report and

recommendation for ultimate disposition by Judge Stadtmueller.

      After Mr. Santos-Marti was placed under oath and advised as to the

implications of being untruthful, I questioned him about his competency to go

forward with the hearing. Through his responses, I found that Mr. Santos-Marti was

lucid, intelligent, and not under the influence of any intoxicants or substances.




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      I then discussed in detail each of the subjects specified in Rule 11, including

the rights Mr. Santos-Marti would surrender by entering a plea of guilty, the

maximum penalties associated with the charged offenses, and the authority of the

sentencing judge to disregard any recommendations in the Plea Agreement, ECF No.

297, and to sentence Mr. Santos-Marti at the statutory maximums. Mr. Santos-Marti

fully understood the rights he was surrendering and the implications of pleading

guilty. Mr. Santos-Marti waived his right to prosecution by indictment and consented

to prosecution by information. ECF No. 336. Mr. Santos-Marti also was satisfied that

he had received effective assistance of counsel.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the Plea Agreement. I found that there was an independent factual basis

containing each of the essential elements of Count One of the Information, ECF No.

289, to which Mr. Santos-Marti was pleading guilty. Mr. Santos-Marti advised that

he was pleading guilty to the charged offenses because he was, in fact, guilty and that

the United States could prove beyond a reasonable doubt that he was guilty of the

charged offenses. Finally, I found that, in responding to my questions, Mr.

Santos-Marti was candid, respectful, and non-evasive, fully accepting responsibility

for and acknowledging the unlawfulness of his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Jose Santos-Marti’s plea of guilty be accepted; that a presentence investigation and

report be prepared according to the schedule set by the Court; and that Mr.


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Santos-Marti be adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation. Objections are to be filed in accordance with the Eastern

District of Wisconsin’s electronic case filing procedures. Failure to file a timely

objection with the District Judge shall result in a waiver of your right to appeal. If no

response or reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 13th day of June, 2017.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




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